        Case 1:21-cv-03126-TOR    ECF No. 1    filed 09/28/21   PageID.1 Page 1 of 41




     Joseph H. Harrington
 1
     Acting United States Attorney
 2   Eastern District of Washington
     Tyler H.L. Tornabene
 3
     Daniel Hugo Fruchter
 4   Assistant United States Attorneys
     Post Office Box 1494
 5
     Spokane, WA 99210-1494
 6   Telephone: (509) 353-2767
 7

 8

 9
                            UNITED STATES DISTRICT COURT

10
                    FOR THE EASTERN DISTRICT OF WASHINGTON

11
     ____________________________________
                                         )
12   UNITED STATES OF AMERICA,           )
13
                                         )
               Plaintiff,                )
14                                       )              Civil Action No.:
15             v.                        )
                                         )
16   RICK T. GRAY and                    )              COMPLAINT
17   GRAY FARMS & CATTLE CO. LLC.        )
                                         )              JURY TRIAL REQUESTED
18             Defendants                )
19                                       )
                                         )
20                                       )
21                                       )
     ____________________________________)
22
                               UNITED STATES’ COMPLAINT
23
           1.    The United States brings this action against Defendant RICK T. GRAY,
24
     individually, and a company he owned and/or controlled at all relevant times,
25
     Defendant GRAY FARMS & CATTLE CO. LLC, for treble damages and penalties
26
     pursuant to the False Claims Act, 31 U.S.C. §§ 3729-3733, for civil penalties pursuant
27
     to the Financial Institutions Reform and Recovery Enforcement Act (“FIRREA”) 12
28
     UNITED STATES’ COMPLAINT - 1
        Case 1:21-cv-03126-TOR     ECF No. 1    filed 09/28/21   PageID.2 Page 2 of 41




     U.S.C. §1833a, and for damages under the common law theories of unjust enrichment,
 1
     and payment by mistake. Defendants RICK T. GRAY and GRAY FARMS &
 2
     CATTLE CO. LLC, knowingly made and used false records and statements material
 3
     to the United States Department of Agriculture (USDA), and falsely and fraudulently
 4
     claimed losses to their wheat crops resulting in hundreds of thousands of dollars in
 5
     fraudulently-obtained crop insurance indemnity payments.
 6
           2.     From at least April 30, 2015, through at least February 28, 2019,
 7

 8
     Defendants RICK T. GRAY and GRAY FARMS & CATTLE CO. LLC, engaged in a

 9
     fraudulent scheme whereby, at least as to crop years 2015 and 2016, they knowingly

10
     and repeatedly concealed harvested wheat production and sales of tens of thousands of

11
     bushels of wheat, which they surreptitiously sold for hundreds of thousands of dollars

12
     and then falsely and fraudulently concealed from the United States. By hiding insured

13
     wheat, largely through hidden and undisclosed deliveries and sales, Defendants RICK

14
     T. GRAY and GRAY FARMS & CATTLE CO. LLC, were able to manufacture the

15 appearance of, and falsely claim, substantial wheat crop losses in support of their false

16 and fraudulent insurance claims. Defendants RICK T. GRAY and GRAY FARMS &

17 CATTLE CO. LLC, falsely and fraudulently claimed, because of the supposed losses,

18 hundreds of thousands of dollars in crop insurance payments, which Defendant RICK

19 T. GRAY, and the entities he owned and controlled, including Defendant GRAY

20 FARMS & CATTLE CO. LLC, received, and which amounts were ultimately borne

21 by the USDA thereby causing hundreds of thousands of dollars in loss to the

22 taxpayers of the United States.

23         3.     The Defendants’ fraudulent scheme used the interstate wires and the

24 mails and affected a federally insured financial institutions, Columbia State Bank. As

25 part of their scheme to fraudulently obtain federally reinsured crop insurance

26 indemnity payments, the Defendants, using the interstate wires, attempted to

27 fraudulently prevent Columbia State Bank, a valid creditor of Defendant GRAY

28 FARMS & CATTLE CO., from obtaining any portion of a specific crop insurance
   UNITED STATES’ COMPLAINT - 2
        Case 1:21-cv-03126-TOR      ECF No. 1   filed 09/28/21   PageID.3 Page 3 of 41




     indemnity payment as obligated. In addition, once the Defendants’ fraudulent scheme
 1
     was detected, one of the entities owned and controlled by Defendant RICK T. GRAY,
 2
     Gray Land and Livestock LLC, filed for bankruptcy, thereby affecting a federally
 3
     insured financial institution, Columbia State Bank, who had extended millions of
 4
     dollars in credit to Defendant RICK T. GRAY’s company Gray Land & Livestock
 5
     LLC and was left with over $3.5 million in bankruptcy claims against that company
 6
     rather than full and timely payments.
 7

 8
           I.     JURISDICTION AND VENUE

 9
           4.     This action arises under the False Claims Act, 31 U.S.C. §§ 3729 -3733,

10
     FIRREA, 12 U.S.C. § 1833a, and common law. This Court has subject matter

11
     jurisdiction pursuant to 31 U.S.C. § 3732(a) and 28 U.S.C. §§ 1331, 1345 and 1355.

12
     The Court may exercise personal jurisdiction over the Defendants RICK T. GRAY

13
     and GRAY FARMS & CATTLE CO. LLC, because they reside and transact business

14
     in this District, and because they committed proscribed acts in this District.

15         5.     Venue lies in this District pursuant to 31 U.S.C. § 3732(a) and 28 U.S.C.

16 § 1391(b) and (c), as the place where Defendants RICK T. GRAY and GRAY

17 FARMS & CATTLE CO. LLC, reside and where a substantial part of the events or

18 omissions giving rise to the claims occurred.

19         II.    PARTIES

20         6.     Plaintiff in this action is the United States of America.
21         7.     The United States Department of Agriculture (USDA) is a cabinet-level
22 executive agency of the United States whose mission includes focusing on farm

23 production and conservation by implementing programs designed to mitigate the

24 significant risks of farming through crop insurance services, conservation programs,

25 and technical assistance, to the nation’s farmers and ranchers. As part of its statutory

26 responsibilities, USDA is responsible for the federal crop insurance program which it

27 administers through the Federal Crop Insurance Corporation (FCIC), a wholly owned

28 government corporation managed by USDA’s Risk Management Agency (RMA).
   UNITED STATES’ COMPLAINT - 3
        Case 1:21-cv-03126-TOR     ECF No. 1    filed 09/28/21   PageID.4 Page 4 of 41




     Congress first authorized federal crop insurance in the 1930s along with other
 1
     initiatives to help agriculture recover from the combined effects of the Great
 2
     Depression and the Dust Bowl.
 3
           8.     In 1938, Congress created the FCIC to carry out the program. Through
 4
     the federal crop insurance program, approved insurance providers sell and service
 5
     federal crop insurance products to America’s farmers and ranchers. The USDA RMA,
 6
     through the FCIC, reinsures, through standard reinsurance agreements, the loss
 7

 8
     indemnities paid by approved insurance providers to their insureds on qualifying crop

 9
     insurance policies.

10
           9.     At all times relevant to this Complaint, the USDA RMA had a standard

11
     reinsurance agreement with Rural Community Insurance Company, also known as

12
     Rural Community Insurance Services, (herein “RCIS”), the crop insurer for the

13
     entities Defendant RICK T. GRAY owned and controlled, including Defendant

14
     GRAY FARMS & CATTLE CO. LLC, between 2013 and 2016.

15         10.    At all times relevant to this Complaint, Defendant RICK T. GRAY was a

16 resident of the Eastern District of Washington with wheat farming operations in

17 Klickitat County, Washington, located in the Eastern District of Washington. At all

18 times relevant Defendant RICK T. GRAY, through various entities he owned and/or

19 controlled, including Defendant GRAY FARMS & CATTLE CO., sought, and

20 received federally reinsured crop insurance for his wheat farming operations through

21 crop insurer RCIS. According to USDA’s Farm Services Agency’s records in 2014,

22 2015, and 2016 Defendant RICK T. GRAY, through various entities he owned or

23 controlled, including Defendant GRAY FARMS & CATTLE CO., LLC, held the

24 largest amount of insured wheat acreage in Klickitat County, Washington, a county

25 that averaged close to 100 wheat farms in each of those years. Defendant RICK T.

26 GRAY is the owner, operator, and sole governor of Gray Land and Livestock LLC

27 (herein sometimes referred to as “Gray Land”).

28
     UNITED STATES’ COMPLAINT - 4
        Case 1:21-cv-03126-TOR     ECF No. 1    filed 09/28/21   PageID.5 Page 5 of 41




           11.    Defendant GRAY FARMS & CATTLE CO. LLC, is a limited liability
 1
     company incorporated in Washington State. At all times relevant to this Complaint
 2
     Defendant GRAY FARMS & CATTLE CO. LLC had its principal place of business
 3
     and conducted its farming operations in the Eastern District of Washington. At times
 4
     relevant to this Complaint Defendant RICK T. GRAY was the manager of Defendant
 5
     GRAY FARMS & CATTLE CO., LLC, (herein sometimes referred to as “Defendant
 6
     GRAY FARMS”) a company owned at relevant times by his father. At times relevant
 7

 8
     to this Complaint, including during crop years 2015 and 2016, Defendant RICK T.

 9
     GRAY also had power of attorney for his father, the former owner of Defendant

10
     GRAY FARMS, and could sign legal documents, including those related to federally

11
     reinsured crop insurance policies and loss claims, on his father’s behalf. Currently,

12
     Defendant RICK T. GRAY is the owner, operator, and sole governor of Defendant

13
     GRAY FARMS.

14         III.   RELEVANT STATUTORY AND REGULATORY BACKGROUND
15
           The False Claims Act
16
           12.    Originally enacted in the 1860s to combat rampant fraud against the
17
     Union Army during the Civil War, the False Claims Act, 31 U.S.C. §§ 3729-3733, is
18
     the primary tool with which the United States combats false claims and fraud against
19
     the Government and protects the federal fisc. U.S. ex rel. Newsham v. Lockheed
20
     Missiles and Space Co., Inc., 722 F.Supp. 607, 608 (N.D. Cal. 1989) (quoting 36 R.
21
     Tomes, The Fortunes of War, Harper’s New Monthly Magazine 228 (July 1864) (“For
22
     sugar [the government] often got sand; for coffee, rye; for leather, something no better
23
     than brown paper; for sound horses and mules, spavined beasts and dying donkeys;
24
     and for serviceable muskets and pistols the experimental failures of sanguine
25
     inventors, or the refuse of shops and foreign armories.”). The Supreme Court has held
26
     that the False Claims Act’s provisions must be construed broadly to reach “all types of
27

28
     UNITED STATES’ COMPLAINT - 5
        Case 1:21-cv-03126-TOR      ECF No. 1    filed 09/28/21   PageID.6 Page 6 of 41




     fraud, without qualification, that might result in financial loss to the Government.”
 1
     United States v. Neifert-White, 390 U.S. 228, 232, 88 S.Ct. 959 (1968).
 2
           13.    The False Claims Act provides, in pertinent part, that any person who:
 3
           (A)    knowingly presents, or causes to be presented, a false or fraudulent claim
 4
                  for payment or approval; [or]
 5
           (B)    knowingly makes, uses, or causes to be made or used, a false record or
 6
                  statement material to a false or fraudulent claim . . .
 7

 8
                  is liable to the United States Government [for statutory damages and such
                  penalties as are allowed by law].
 9

10
     31 U.S.C. § 3729(a)(1)-(2) (2006), as amended by 31 U.S.C. § 3729(a)(1)(A)-(B)
     (2010).
11

12
           14.    The False Claims Act defines “knowingly” as follows:

13
                  (1) the terms knowing and knowingly –
                  (A) mean that a person, with respect to information –
14

15                     (i) has actual knowledge of the information;

16                    (ii) acts in deliberate ignorance of the truth or falsity of the
17                   information; or

18                    (iii) acts in reckless disregard of the truth or falsity of the
19                   information; and

20                (B) require no proof of specific intent to defraud[.]
21
     31 U.S.C. § 3729(b) (2006), as amended by 31 U.S.C. § 3729(b)(1) (2010).
22

23         15.    The False Claims Act provides that a person is liable to the United States

24 Government for three times the amount of damages that the Government sustains

25 because of the act of that person, plus additional civil penalties for each violation. 31

26 U.S.C. § 3729(a)(1).

27

28
     UNITED STATES’ COMPLAINT - 6
        Case 1:21-cv-03126-TOR     ECF No. 1   filed 09/28/21   PageID.7 Page 7 of 41




           The Financial Institutions Reform and Recovery Enforcement Act
 1
           (FIRREA)
 2
           16.   The Financial Institutions Reform, Recovery and Enforcement Act, 12
 3
     U.S.C. § 1833a (“FIRREA”), was enacted by Congress as part of a comprehensive
 4
     legislative plan to reform and strengthen the banking system and certain federal
 5
     programs. Toward that end, FIRREA authorizes civil enforcement for violations of
 6
     enumerated predicate federal criminal offenses, including making false statements or
 7

 8
     reports for the purpose of influencing, in any way, the Federal Crop Insurance

 9
     Corporation or a company it reinsures, in violation of 18 U.S.C. § 1014, and Bank

10
     Fraud in violation of 18 U.S.C. § 1344. 12 U.S.C. § 1833a(c)(1).

11
           17.   One of FIRREA’s stated purposes is to provide “enhanced enforcement

12
     powers and increase criminal and civil money penalties for crimes of fraud against

13
     federal institutions and depositors.” H.R. Rep. 101-54(I), 101st Cong., 1st Sess. 1989

14
     at 18; reprinted at 1989 U.S.C.C.A.N. 86 at 118.

15         18.   In addition to authorizing the Attorney General to recover civil penalties

16 from whomever violates certain predicate offenses, such at 18 U.S.C. § 1014 and 18

17 U.S.C. § 1344, FIRREA also authorizes the Attorney General to seek civil penalties

18 for violations of Mail Fraud and Wire Fraud, 18 U.S.C. § § 1341, 1343, “affecting a

19 federally insured financial institution.” 12 U.S.C. § 1833(a)(c)(2).

20         19.   For purposes of the violations for which FIRREA civil penalties may be

21 sought: (a) the term “financial institution” includes federally insured financial

22 institutions, as well as branches and agencies of foreign banks; and (b) the term

23 “federally insured financial institution” includes banks whose deposits are insured by

24 the Federal Deposit Insurance Corporation and credit unions whose accounts are

25 insured by the National Credit Union Share Insurance Fund. 18 U.S.C. § 20(1), (2) &

26 (9). As used herein, these terms shall have the meaning attributed to them for

27 purposes of FIRREA, as set forth above.

28
     UNITED STATES’ COMPLAINT - 7
        Case 1:21-cv-03126-TOR     ECF No. 1    filed 09/28/21   PageID.8 Page 8 of 41




           20.    FIRREA’s penalty provisions provide that, depending on the timing of
 1
     the violation and the assessment thereof, the United States may recover civil money
 2
     penalties of up to either $1,100,000 or $2,048,915 per violation, or for a continuing
 3
     violation, up to $1,100,000 per day or $5,500,000, whichever is less, or up to
 4
     $2,048,915 per day or $10,244,577, whichever is less. See 12 U.S.C. §§ 1833a(b)(1),
 5
     (2); 28 C.F.R. § 85.3 and § 85.5. The statute further provides that the penalty can
 6
     exceed these limits to permit the United States to recover the amount of any gain to
 7

 8
     the person committing the violation, or the amount of the loss to a person other than

 9
     the violator stemming from such conduct, up to the amount of the gain or loss. See 12

10
     U.S.C. § 1833a(b)(3).

11
           III.   BACKGROUND

12         FCIC-Backed Multi-Peril Crop Insurance (MPCI)
13         21.    One of the most common insurance products offered to farmers by FCIC-
14 approved insurance providers is Multi-Peril Crop Insurance (MPCI). MPCI policies

15 offer protection for the insured crop (also referred to as “production”) against

16 numerous causes of loss including drought, excessive moisture, hail, frost, wind,

17 insects, and disease.

18         22.    In order to obtain MPCI coverage, an applicant must complete and sign a
19 MPCI application and submit it to their insurance company by the applicable sales

20 closing date. The application must contain all required information including, but not

21 limited to the selection of the applicable options and endorsements, state, county,

22 crop, level of coverage, percent of the projected price and plan of insurance. The

23 applicant must certify that all entries made on the application are true and complete.

24 The application is subject to acceptance by the insurance company based on the

25 representations made by the applicant. In return for payment of the premium and

26 subject to all the provisions in the policy and endorsements, the insurance company

27 agrees to provide crop insurance coverage and issues an MPCI policy to the insured.

28
     UNITED STATES’ COMPLAINT - 8
        Case 1:21-cv-03126-TOR      ECF No. 1    filed 09/28/21   PageID.9 Page 9 of 41




     The MPCI policy is a continuous policy and will remain in effect until cancelled in
 1
     writing.
 2
           23.    Under an MPCI policy, each year the insured must certify on an Acreage
 3
     Report the location, date of planting, number of acres planted, and the insured’s
 4
     interest or share in the insured crop. The insured must sign the Acreage Report
 5
     certifying that all the information is entirely accurate and submits it to the insurance
 6
     company. This acreage report data is used to calculate the amount of insurance
 7

 8
     coverage (often referred to as “the guarantee”), what precisely is being insured, and

 9
     the premium that is due and payable. The Acreage Report requires the insured to

10
     disclose all acreage of an insured crop, whether insurable or not insurable. The

11
     Acreage Report must be signed by the insured certifying that the information thereon

12
     is correct and accurate to the best of the insured’s knowledge and belief. The Acreage

13
     Report certification by the insured includes an acknowledgement by the insured that

14
     failure to report completely and accurately may result in various sanctions including

15 criminal and civil penalties under a number of applicable federal statutes. The

16 explicitly listed federal statutes on the Acreage Report certification include the False

17 Claims Act and 18 U.S.C. § 1014.

18         24.    Revenue Protection (RP) policies are a type of MPCI policies that insure

19 producers against yield losses due to natural causes such as drought, excessive

20 moisture, hail, wind, frost, insects, and disease, and revenue losses caused by a change

21 in the harvest price from the projected price. The insured farmer, known as the

22 producer, selects the amount of average yield he or she wishes to insure; from 50-75

23 percent (in some areas up to 85 percent). The projected price and the harvest price are

24 100 percent of the amounts determined in accordance with the Commodity Exchange

25 Price Provisions and are based on daily settlement prices for certain futures contracts.

26 The amount of insurance protection is based on the greater of the projected price or

27 the harvest price. If the harvested production, plus any appraised or stored production,

28
     UNITED STATES’ COMPLAINT - 9
      Case 1:21-cv-03126-TOR        ECF No. 1   filed 09/28/21   PageID.10 Page 10 of 41




     multiplied by the harvest price is less than the amount of insurance protection, the
 1
     producer is paid an indemnity based on the difference.
 2
           25.    When a properly insured crop is damaged by an insurable cause of loss
 3
     covered by the insured farmer’s MPCI policy, the insured farmer files a Notice of
 4
     Loss which is transmitted to the insurance company. Upon receipt of the Notice of
 5
     Loss, the insurance company assigns a loss adjuster to inspect the crop and determine
 6
     the amount of loss. To receive an indemnity payment the insured farmer is obligated,
 7

 8
     under the terms of the crop insurance policy, to disclose both insured and uninsured

 9
     crop including crops planted or harvested that year and stored production from

10
     previous years.

11
           26.    Specifically, as applicable to the MPCI policies held by Gray Farms and

12
     Gray Land specified herein, Section 14 of the Common Crop Insurance Policy (Basic

13
     Provision), captioned “Duties in the Event of Damage, Loss, Abandonment,

14
     Destruction, or Alternative Use of Crop or Acreage,” provides in part, at section

15 14(e)(4), that in order for an insured farmer to receive any indemnity the insured

16 farmer must provide “A complete harvesting, production, and marketing record of

17 each insured crop by unit including separate records showing same information for

18 production from any acreage not insured.” That section, at 14(e)(5), goes on to state

19 that “Failure to comply with any requirement contained in section 14(e)(4) will result

20 in denial of the claim. . . .”

21         27.    Consequently, as part of the loss adjustment process on an MPCI policy

22 after a Notice of Loss has been filed by the insured , the insured is required to provide

23 the loss adjuster with settlement sheets from the grain elevators where any production

24 is sold during the applicable crop year, whether that production was insured or not.

25 Settlement sheets show the amount of production sold, the interest in the crop and the

26 price paid to the insured. The loss adjuster will also gather load tickets used by the

27 insured to show the originating location of the production, the amount of the

28 production, and the identification of the owner of the production. If the production,
   UNITED STATES’ COMPLAINT - 10
      Case 1:21-cv-03126-TOR      ECF No. 1    filed 09/28/21   PageID.11 Page 11 of 41




     whether insured or not, is stored on the farm, the loss adjuster will perform bin
 1
     measurements to determine how much grain is in the bin. If the production has not
 2
     been harvested, the loss adjuster will perform field appraisals to determine the amount
 3
     of crop produced in the field.
 4
           28.    After the filing of a Notice of Loss, and based on the information
 5
     provided by the insured thereafter, the insurance loss adjuster completes a Production
 6
     Worksheet which functions as the insurance claim form which applies for and requests
 7

 8
     payment of a loss indemnity. In order to be eligible for any loss indemnity payment,

 9
     the insured must sign the Production Worksheet certifying that all the information

10
     thereon is true and complete, including but not limited to, the insured’s interest or

11
     share percentage in the insured crop, the cause of loss, and the amount of harvested

12
     and appraised and stored production. The certification statement on the Production

13
     Worksheet signed by the insured states:

14
           I certify that the information provided above, to the best of my knowledge, to
           be true and complete and that it will be used to determine my loss, if any, to my
15         insured crops. I understand that this Production Worksheet and supporting
16         papers are subject to audit and approval by the company. I also understand that
           this crop insurance is subsidized and reinsured by the Federal Crop Insurance
17         Corporation, an agency of the United States. False claims or false statements
18         made on a matter within the jurisdiction of the Federal Crop Insurance
           Corporation may subject the maker to criminal and civil penalties under various
19         Federal statutes including the provisions of 18 U.S.C. §1006, §1014; 7 U.S.C.
20         §1506; 31 U.S.C. §3729, §3730, §3801, §3812.

21 This is the certification statement that Defendant RICK T. GRAY signed on each of

22 the specific production worksheets referenced herein at, inter alia, paragraphs 74, 75,

23 77, 78, and 84, infra.

24         29.    After the Production Worksheet is completed and signed by the loss
25 adjuster and the insured certifying that the insurance claim is correct, it is sent to the

26 crop insurance company to calculate the amount of loss and the resulting amount of

27

28
     UNITED STATES’ COMPLAINT - 11
       Case 1:21-cv-03126-TOR     ECF No. 1    filed 09/28/21   PageID.12 Page 12 of 41




     indemnity. Through this process, the insurance company then pays an indemnity to
 1
     the insured for the loss on the insured crop.
 2
           30.    The USDA RMA has standard reinsurance agreements with Approved
 3
     Insurance Providers (AIPs) that obligate the USDA as a reinsurer to the AIPs when
 4
     those providers issue federal crop insurance policies to insured entities. One of the
 5
     reinsurance agreement’s core financial principles is stop-loss. A stop-loss means once
 6
     certain contractual thresholds are met, all losses beyond that threshold are the
 7

 8
     financial responsibility of the FCIC.

 9
           31.    Once an AIP transmits the policy and ostensibly qualifying claim data to

10
     the FCIC for a loss indemnity for a specific policy on a specific crop year, the FCIC

11
     promptly (within 3 business days) funds the full requested indemnity amount via an

12
     escrow account, which allows for proper cash flow, so producers are paid losses

13
     quickly. The AIP, in turn, pays the producer the ostensibly legitimate and valid loss

14
     indemnity amount. In addition, at monthly intervals, the FCIC and AIPs settle up by

15 transferring any net amount owed figuring premium owed (including FCIC paid

16 premium subsidies), indemnities paid, and escrow paid per the reinsurance agreement.

17 Further, on an annual basis, a full settlement is completed between the FCIC and its

18 AIPs that also incorporates administration and operating expense subsidies.

19
           V.     DEFENDANTS’ FRAUDULENT SCHEME TO HIDE WHEAT
20                PRODUCTION AND MAKE FALSE AND FRAUDULENT CROP
21                INSURANCE CLAIMS

22         32.    On or about June 30, 2009, Defendant GRAY FARMS & CATTLE CO.
23 LLC., obtained a federally reinsured MPCI policy (MPCI Policy #46-951-989150) for

24 its wheat farming operations in Klickitat County, Washington, from Rural Community

25 Insurance Company, also known as Rural Community Insurance Services, (herein

26 “RCIS”) an FCIC-approved insurance provider.

27

28
     UNITED STATES’ COMPLAINT - 12
      Case 1:21-cv-03126-TOR     ECF No. 1   filed 09/28/21   PageID.13 Page 13 of 41




           33.   On or about January 30, 2012, Defendant RICK T. GRAY, on behalf of
 1
     his company Gray Land and Livestock, LLC, obtained a federally reinsured MPCI
 2
     policy (MPCI Policy #46-951-136889) for Gray Lands’ wheat farming operations in
 3
     Klickitat County, Washington, from RCIS, an FCIC approved insurance provider.
 4
           Crop Year 2013
 5
           34.   For crop year 2013, Defendant RICK T. GRAY, on behalf of both
 6
     Defendant GRAY FARMS & CATTLE CO. LLC, and Gray Land and Livestock
 7

 8
     LLC, made crop insurance loss claims on MPCI Policy #46-951-989150 and MPCI

 9
     Policy #46-951-136889, respectively.

10
           35.   As to each of those alleged losses Defendant RICK T. GRAY claimed

11
     that the wheat production for each of the insureds, Gray Land and Defendant GRAY

12
     FARMS, was deficient and claimed that all wheat production for both Gray Land and

13
     Defendant GRAY FARMS had been sold and delivered to Horse Heaven Grain LLC

14
     (herein sometimes referred to as “Horse Heaven Grain”), other than a small additional

15 amount in a pup trailer. As part of the loss adjustment process on both MPCI policies

16 for crop year 2013, Defendant RICK T. GRAY represented that there was no

17 additional farm stored or home stored wheat production, and that there had been no

18 sales other than to Horse Heaven Grain.

19         36.   As a result of the representation of Defendant RICK T. GRAY on behalf

20 of Defendant GRAY FARMS & CATTLE CO. LLC, and Gray Land and Livestock

21 LLC, during the loss claim process on their respective MPCI policies for crop year

22 2013, RCIS paid $48,021.00 in indemnity to Defendant GRAY FARMS and

23 $252,360.00 in indemnity to Gray Land. Those amounts were paid to RCIS by the

24 FCIC as reinsurance per the standard reinsurance agreement between RCIS and

25 USDA RMA.

26         Crop Year 2014

27         37.   For crop year 2014, Defendant RICK T. GRAY, on behalf of both

28 Defendant GRAY FARMS & CATTLE CO. LLC, and Gray Land and Livestock
   UNITED STATES’ COMPLAINT - 13
      Case 1:21-cv-03126-TOR     ECF No. 1   filed 09/28/21   PageID.14 Page 14 of 41




     LLC, made crop insurance loss claims on MPCI Policy #46-951-989150 and MPCI
 1
     Policy #46-951-136889, respectively.
 2
           38.   As to each of those alleged losses Defendant RICK T. GRAY claimed
 3
     that the wheat production for each of the insureds, Gray Land and Defendant GRAY
 4
     FARMS, was deficient and claimed that all wheat production for both Gray Land and
 5
     Defendant GRAY FARMS had been sold and delivered to Horse Heaven Grain. As
 6
     part of the loss adjustment process on both MPCI policies for crop year 2014,
 7

 8
     Defendant RICK T. GRAY represented that there was no additional farm stored or

 9
     home stored wheat production, and that there had been no sales other than to Horse

10
     Heaven Grain.

11
           39.   As a result of the representation of Defendant RICK T. GRAY on behalf

12
     of Defendant GRAY FARMS & CATTLE CO. LLC and Gray Land and Livestock

13
     LLC, during the loss claim process on their respective MPCI policies for crop year

14
     2014, RCIS paid $295,399.00 in indemnity to Defendant GRAY FARMS and

15 $434,354.00 in indemnity to Gray Land. Those amounts were paid to RCIS as

16 reinsurance by the FCIC per the standard reinsurance agreement between RCIS and

17 USDA RMA.

18         Crop Year 2015

19         40.   By on or about the acreage reporting date for crop year 2015, July 15,

20 2015, Defendant RICK T. GRAY and Defendant GRAY FARMS & CATTLE CO.

21 LLC, submitted a signed Acreage Report to RCIS under MPCI Policy #46-951-

22 989150 obtaining coverage for Defendant GRAY FARMS’ wheat production for crop

23 year 2015. In that Acreage Report Defendant RICK T. GRAY certified to RCIS that

24 all wheat to be harvested by Defendant GRAY FARMS in 2015 would be insured and

25 that there was to be no uninsured 2015 wheat production. The data contained in that

26 Acreage Repot was submitted to RCIS through the interstate wires from the Eastern

27 District of Washington.

28
     UNITED STATES’ COMPLAINT - 14
      Case 1:21-cv-03126-TOR     ECF No. 1    filed 09/28/21   PageID.15 Page 15 of 41




           41.   On or about March 9, 2015, Defendant RICK T. GRAY and Defendant
 1
     GRAY FARMS & CATTLE CO. LLC transferred all rights to any indemnity under
 2
     MPCI Policy #46-951-989150 for crop year 2015 from Defendant GRAY FARMS to
 3
     its creditor Columbia State Bank, an FDIC insured financial institution, through a
 4
     RCIS Assignment of Indemnity Application.
 5
           42.   On or about April 30, 2015, Defendant RICK T. GRAY, acting on behalf
 6
     of Gray Land and Livestock LLC, submitted a signed Acreage Report to RCIS under
 7

 8
     MPCI Policy #46-951-136889 obtaining coverage for Gray Lands’ wheat production

 9
     for crop year 2015. In that Acreage Report Defendant RICK T. GRAY certified to

10
     RCIS that all wheat to be harvested by Gray Land in 2015 would be insured and that

11
     there was to be no uninsured 2015 wheat production. The data contained in that

12
     Acreage Repot was submitted to RCIS through the interstate wires from the Eastern

13
     District of Washington.

14
           43.   On or about July 21, 2015, Defendant RICK T. GRAY, on behalf of Gray

15 Land, caused a Notice of Loss on crop year 2015 under MPCI Policy #46-951-136889

16 to be submitted to RCIS. The data contained in that Notice of Loss was transmitted to

17 RCIS through the interstate wires from the Eastern District of Washington.

18         44.   Also on or about July 21, 2015, Defendant RICK T. GRAY and

19 Defendant GRAY FARMS caused a Notice of Loss for crop year 2015 under MPCI

20 Policy #46-951-989150 to be submitted to RCIS. The data contained in that Notice of

21 Loss was transmitted to RCIS through the interstate wires from the Eastern District of

22 Washington.

23         45.   On or about September 21, 2015, notwithstanding the previous transfer of

24 all rights to any indemnity under MPCI Policy #46-951-989150 for crop year 2015,

25 made on or about March 9, 2015, from Defendant GRAY FARMS to its creditor

26 Columbia State Bank, Defendant RICK T. GRAY and Defendant GRAY FARMS

27 fraudulently attempted to transferred all rights to any indemnity under MPCI Policy

28 #46-951-989150 for crop year 2015 from Defendant GRAY FARMS, to Defendant
   UNITED STATES’ COMPLAINT - 15
      Case 1:21-cv-03126-TOR      ECF No. 1   filed 09/28/21   PageID.16 Page 16 of 41




     RICK T. GRAY’s company Gray Land & Livestock LLC, through an RCIS Transfer
 1
     of Coverage and Right to an Indemnity form which Defendant RICK T. GRAY
 2
     caused to be falsely and fraudulently backdated to January 1, 2015, a date prior to the
 3
     previous transfer to Columbia State Bank. The falsity of the back dated date of the
 4
     purported transfer of indemnity rights to Defendant GRAY FARMS to a date prior to
 5
     the valid transfer date of March 9, 2015, was material to RCIS and Columbia State
 6
     Bank as it had the natural tendency to, and was capable of, influencing RCIS
 7

 8
     regarding the payment of all or part of any indemnity under MPCI Policy # 46-951-

 9
     989150 for crop year 2015 to Columbia State Bank in satisfaction, in whole or partial,

10
     of the valid and lawful debt owed it by Defendant GRAY FARMS.

11
           46.    Defendant RICK T. GRAY’s and Defendant GRAY FARMS’ falsely and

12
     fraudulently backdated RCIS Transfer of Coverage and Right to an Indemnity form

13
     dated September 21, 2015, was the Defendants’ attempt to fraudulently prevent

14
     Columbia State Bank from lawfully collecting a debt owed to it by Defendant GRAY

15 FARMS.

16         47.    The data from Defendant RICK T. GRAY’s and Defendant GRAY

17 FARMS’ fraudulently backdated RCIS Transfer of Coverage and Right to an

18 Indemnity form was transmitted to RCIS through the interstate wires from the Eastern

19 District of Washington.

20         48.    On or about September 30, 2015, as part of the loss adjustment process

21 under MPCI Policy #46-951-989150 for crop year 2015, for Defendant GRAY

22 FARMS, Defendant RICK T. GRAY and Defendant GRAY FARMS falsely and

23 fraudulently represented and certified to RCIS, on a production worksheet, that all

24 insured wheat harvested in 2015 for Defendant GRAY FARMS had been sold to

25 Horse Heaven Grain LLC. The data contained in that production worksheet was

26 transmitted to RCIS through the interstate wires from the Eastern District of

27 Washington.

28
     UNITED STATES’ COMPLAINT - 16
      Case 1:21-cv-03126-TOR     ECF No. 1    filed 09/28/21   PageID.17 Page 17 of 41




           49.   Also, on or about September 30, 2015, as part of the loss adjustment
 1
     process under MPCI Policy #46-951-136889, crop year 2015, for Gray Land and
 2
     Livestock LLC, Defendant RICK T. GRAY falsely and fraudulently represented and
 3
     certified to RCIS, on a production worksheet, that all insured wheat harvested in 2015
 4
     for Gray Land was sold to Horse Heaven Grain LLC. The data contained in that
 5
     production worksheet was transmitted to RCIS through the interstate wires from the
 6
     Eastern District of Washington.
 7

 8
           50.   In fact, in 2015 Defendant RICK T. GRAY and/or Defendant GRAY

 9
     FARMS & CATTLE CO. LLC, sold and delivered over 35,000 bushels of hidden and

10
     undisclosed wheat to multiple granaries, other than Horse Heaven Grain, for a total of

11
     at least $184,744.71 in hidden and undisclosed production and sales. During that

12
     same time period Defendant RICK T. GRAY’s and Defendant GRAY FARMS &

13
     CATTLE CO. LLC’s disclosed wheat sales and deliveries to Horse Heaven Grain

14
     were for 21,411.32 bushels of wheat for approximately $130,000, almost all of which

15 went to creditors of Gray Land and Defendant GRAY FARMS.

16         51.   Defendant RICK T. GRAY’s and Defendant GRAY FARMS’ hidden and

17 undisclosed wheat deliveries and sales included deliveries and sales to Tri Cities

18 Granary LLC between approximately July 23 and August 10, 2015, on at least 12

19 separate occasions. During that time Defendant RICK T. GRAY and Defendant

20 GRAY FARMS delivered and sold over 19,000 bushels of wheat produced by

21 Defendant GRAY FARMS and/or Gray Land to Tri Cities Granary LLC. Further,

22 Defendant RICK T. GRAY and Defendant GRAY FARMS & CATTLE CO. LLC

23 delivered, and sold more than 4,300 additional bushels of wheat produced by

24 Defendant GRAY FARMS and/or Gray Land to Tri Cities Granary LLC, on at least

25 three additional separate occasions, between approximately November 20 and

26 November 23, 2015. In 2015 Defendant RICK T. GRAY and Defendant GRAY

27 FARMS & CATTLE CO. LLC sold and delivered hidden and undisclosed wheat,

28 produced by Defendant GRAY FARMS and/or Gray Land, to Tri Cities Granary LLC
   UNITED STATES’ COMPLAINT - 17
      Case 1:21-cv-03126-TOR      ECF No. 1   filed 09/28/21   PageID.18 Page 18 of 41




     under the following names: “Gray Farms, Rick T” and “Rick T. Gray”. As a result,
 1
     Tri Cities Granary LLC paid a total of $142,374.99 to Defendant RICK T. GRAY
 2
     and/or Defendant GRAY FARMS for the crop year 2015 hidden and undisclosed
 3
     wheat.
 4
           52.   Defendant RICK T. GRAY’s and Defendant GRAY FAMRS’ hidden and
 5
     undisclosed wheat sales also included deliveries and sales to AgriNorthwest on or
 6
     about July 15, 2015 and again on or about July 17, 2015. On or about those dates,
 7

 8
     Defendant RICK T. GRAY and Defendant GRAY FARMS delivered and sold over

 9
     2,800 bushels of wheat produced by Defendant GRAY FARMS and/or Gray Land to

10
     AgriNorthwest under Defendant GRAY FARMS’ name. As a result, AgriNorthwest

11
     paid a total of $16,766.29 to Defendant RICK T. GRAY and/or Defendant GRAY

12
     FARMS for the crop year 2015 hidden and undisclosed wheat.

13
           53.   Defendant RICK T. GRAY’s and Defendant GRAY FARMS’ hidden and

14
     undisclosed wheat sales also included deliveries and sales to Mid Columbia Producers

15 Inc. between approximately August 11 and August 31, 2015, on at least six separate

16 occasions. On or between those dates, Defendant RICK T. GRAY and Defendant

17 GRAY FARMS delivered and sold over 9,200 bushels of wheat produced by

18 Defendant GRAY FARMS and/or Gray Land to Mid Columbia Producers Inc. under

19 “Rick T. Gray, Gray Farms & Cattle Company”. As a result, Mid Columbia

20 Producers Inc. paid a total of $25,603.43 to “Rick T. Gray and Columbia State Bank

21 Gray Farms and Cattle Company” for the crop year 2015 hidden and undisclosed

22 wheat.

23         54.   Defendant RICK T. GRAY and Defendant GRAY FARMS did not

24 disclose the existence of any of this production, or any of these deliveries or sales, or

25 of any uninsured wheat that might explain the undisclosed production, deliveries, and

26 sales, during the loss adjustment process, on production worksheets or otherwise, to

27 RCIS as required by the terms of MPCI Policy #46-951-989150 (Defendant GRAY

28 FARMS’ policy) and MPCI Policy #46-951-136889 (Gray Land’s policy). Instead,
   UNITED STATES’ COMPLAINT - 18
      Case 1:21-cv-03126-TOR      ECF No. 1   filed 09/28/21   PageID.19 Page 19 of 41




     Defendant RICK T. GRAY and Defendant GRAY FARMS knowingly and
 1
     fraudulently concealed and materially omitted the majority of the wheat production of
 2
     Gray Land and Defendant GRAY FARMS, over 35,000 bushels of wheat, that
 3
     Defendant RICK T. GRAY and/or Defendant GRAY FARMS sold to Tri Cities
 4
     Granary LLC, AgriNorthwest, and Mid Columbia Producers Inc. Defendant RICK T.
 5
     GRAY and Defendant GRAY FARMS did this in order to fraudulently claim
 6
     insurance payments to which they were not entitled, by fraudulently and falsely
 7

 8
     claiming losses to wheat crops that did not occur, and by falsely and fraudulently

 9
     understating the production of Defendant GRAY FARMS and Defendant RICK T.

10
     GRAY’s company Gray Land for crop year 2015.

11
           55.   Had Defendant RICK T. GRAY’s and Defendant GRAY FARMS’

12
     hidden and undisclosed wheat sales and deliveries been known during the loss

13
     adjustment process on MPCI Policy #46-951-989150, Defendant GRAY FARMS

14
     would not have been eligible for any indemnity loss payment for crop year 2015.

15         56.   As a result of Defendant RICK T. GRAY’s and Defendant GRAY

16 FARMS’ knowing and materially false and fraudulent statements and omissions,

17 RCIS paid loss indemnity in the amount of $122,272, on MPCI Policy #46-951-

18 989150 for crop year 2015, directly to Defendant RICK T. GRAY’s company, Gray

19 Land and Livestock LLC, through the United States Postal Service or through private

20 or commercial interstate carrier to the Eastern District of Washington. This amount

21 was not paid to the insured entity, Defendant GRAY FARMS, based on Defendant

22 RICK T. Gray’s and Defendant GRAY FARMS’ previous fraudulent transfer of

23 indemnity rights from Defendant GRAY FARMS to Gray Land detailed at paragraphs

24 45-47, supra. The loss indemnity amount was applied in part to the unpaid premium

25 amounts on MPCI Policy #46-951-989150 then owed. RCIS would not have paid any

26 indemnity on MPCI Policy #46-951-989150 for crop year 2015 had it known that in

27 fact Defendant RICK T. GRAY and Defendant GRAY FARMS had delivered and

28
     UNITED STATES’ COMPLAINT - 19
      Case 1:21-cv-03126-TOR      ECF No. 1   filed 09/28/21   PageID.20 Page 20 of 41




     sold hidden and undisclosed wheat production, including over 35,000 bushels of
 1
     wheat totaling at least $184,744.71 in sales revenue.
 2
           57.    As a result of Defendant RICK T. GRAY’s and Defendant GRAY
 3
     FARMS’ false and fraudulent statements and omissions, on October 2, 2015, RCIS,
 4
     pursuant to its Standard Reinsurance Agreement with RMA, submitted, through the
 5
     interstate wires, a false and fraudulent claim for payment to the USDA for reinsurance
 6
     of the indemnity RCIS paid for crop year 2015 on MPCI Policy #46-951-989150, less
 7

 8
     any amount of premium still owed, in the amount of $94,353.00. On October 2, 2015,

 9
     the USDA, through the FCIC, as administered by RMA, paid $94,353.00 in

10
     reinsurance to RCIS through the interstate wires on that claim for reinsurance for

11
     MPCI Policy #46-951-989150, crop year 2015. Had the USDA known that RCIS’s

12
     claim for reinsurance was based on the materially false and fraudulent statements and

13
     omissions of Defendant RICK T. GRAY and Defendant GRAY FARMS it would not

14
     have paid RCIS’s resulting claim for reinsurance.

15         58.    Similarly, had the Defendants’ hidden and undisclosed wheat sales and

16 deliveries been known during the loss adjustment process on MPCI Policy #46-951-

17 136889, Gray Land and Livestock LLC, would not have been eligible for any

18 indemnity loss payment for crop year 2015.

19         59.    As a result of Defendant RICK T. GRAY’s false and fraudulent

20 statements and omissions, RCIS paid loss indemnity in the amount of $417,756 on

21 MPCI Policy #46-951-136889 directly to Defendant RICK T. GRAY’s company,

22 Gray Land and Livestock LLC, through the United States Postal Service or private or

23 commercial interstate carrier to the Eastern District of Washington. The loss

24 indemnity amount was applied in part to the unpaid premium amounts on MPCI

25 Policy #46-951-136889 then owed. RCIS would not have paid any indemnity on

26 MPCI Policy #46-951-136889 for crop year 2015 had it known that in fact Defendant

27 RICK T. GRAY and Defendant GRAY FARMS had delivered and sold hidden and

28
     UNITED STATES’ COMPLAINT - 20
      Case 1:21-cv-03126-TOR     ECF No. 1     filed 09/28/21   PageID.21 Page 21 of 41




     undisclosed wheat production, including over 35,000 bushels of wheat totaling at least
 1
     $184,744.71 in sales revenue.
 2
           60.   As a result of Defendant RICK T. GRAY’s false and fraudulent
 3
     statements and omissions, on October 8, 2015, RCIS, pursuant to its Standard
 4
     Reinsurance Agreement with RMA, submitted, through the interstate wires, a false
 5
     and fraudulent claim for payment to the USDA for reinsurance of the indemnity RCIS
 6
     paid for crop year 2015 on MPCI Policy #46-951-136889, less any amount of
 7

 8
     premium still owed, in the amount of $384,453.00 through the interstate wires. On

 9
     October 8, 2015, the USDA through the FCIC, as administered by RMA, paid

10
     $384,453.00 in reinsurance to RCIS on that claim for reinsurance for MPCI Policy

11
     #46-951-136889, crop year 2015, through the interstate wires. Had the USDA known

12
     that RCIS’s claim for reinsurance was based on the materially false and fraudulent

13
     statements and omissions of Defendant RICK T. GRAY, it would not have paid

14
     RCIS’s resulting claim for reinsurance.

15         61.   All totaled for crop year 2015, Defendant RICK T. GRAY and Defendant

16 GRAY FARMS & CATTLE CO. LLC defrauded RCIS out of a total of at least

17 $540,028 in crop insurance indemnity payments for crop year 2015 ($478,806 of

18 which was paid through indemnity checks and $61,222 of which was applied to

19 unpaid premium amounts then owing), all of which was borne by the USDA through

20 its reinsurance agreement with RCIS.

21         Crop Year 2016

22         62.   On or about September 30, 2015, Defendant RICK T. GRAY and

23 Defendant GRAY FARMS, canceled MPCI Policy No. 46-951-989150 in writing.

24         63.   Based on data submitted by Defendant GRAY FARMS to the USDA

25 Farm Services Administration, Defendant GRAY FARMS had no wheat farming

26 operations in Klickitat County, Washington in crop year 2016.

27         64.   By on or about the acreage reporting date for crop year 2016, July 15,

28 2016, Defendant RICK T. GRAY, acting on behalf of Gray Land and Livestock LLC,
   UNITED STATES’ COMPLAINT - 21
      Case 1:21-cv-03126-TOR      ECF No. 1    filed 09/28/21   PageID.22 Page 22 of 41




     submitted a signed Acreage Report to RCIS under MPCI Policy #46-951-136889
 1
     obtaining coverage for Gray Lands’ wheat production for crop year 2016. In that
 2
     Acreage Report Defendant RICK T. GRAY certified to RCIS that all wheat to be
 3
     harvested by Gray Land in 2016 would be insured and that there was to be no
 4
     uninsured 2016 wheat production. The data in that Acreage Report was transmitted to
 5
     RCIS through the interstate wires from the Eastern District of Washington.
 6
           65.   On or between June 28, 2016, and August 8, 2016, Defendant RICK T.
 7

 8
     GRAY, acting on behalf of Gray Land and Livestock LLC, caused notices of loss to

 9
     be submitted to RCIS for crop year 2016 on MPCI Policy #46-951-136889. The data

10
     in those notices of los were transmitted to RCIS through the interstate wires from the

11
     Eastern District of Washington.

12
           66.    On or about October 13, 2016, as part of the loss adjustment process

13
     under MPCI Policy #46-951-136889, crop year 2016, for Gray Land and Livestock

14
     LLC, Defendant RICK T. GRAY falsely and fraudulently represented to RCIS on a

15 production worksheet that all insured wheat harvested in 2016 for Gray Land was sold

16 to Horse Heaven Grain LLC and Mid Columbia Producers Inc. and that there was no

17 “home stored” wheat production. The data in that production worksheet was

18 transmitted to RCIS through the interstate wires from the Eastern District of

19 Washington.

20         67.    In fact, contrary to his false and fraudulent representations to RCIS for

21 crop year 2016 on MPCI Policy #46-951-136889, Defendant RICK T. GRAY had,

22 through various entities he owned or controlled, over 26,000 bushels of stored wheat

23 production.

24         68.   Further, contrary to his false and fraudulent representations to RCIS for

25 crop year 2016 on MPCI Policy #46-951-136889, Defendant RICK T. GRAY, sold

26 and delivered over 17,000 bushels of hidden and undisclosed wheat to Tri Cities

27 Granary between approximately June 20, 2016 and November 29, 2016, under the

28 name “RT Farms.”
   UNITED STATES’ COMPLAINT - 22
      Case 1:21-cv-03126-TOR       ECF No. 1   filed 09/28/21   PageID.23 Page 23 of 41




           69.      On October 17, 2016, RCIS notified Defendant RICK T. GRAY that it
 1
     was denying the loss claim for crop year 2016 on MPCI Policy #46-951-136889
 2
     because Defendant RICK T. GRAY had “failed to provide a complete harvesting,
 3
     production, and marketing record,” as required under Section 14 of the Basic
 4
     Provisions of MPCI Policy #46-951-136889. RCIS further notified Defendant RICK
 5
     T. GRAY at that time that pursuant to its standard reinsurance agreement with USDA
 6
     RMA, that based on RCIS’ “discovery of unreported wheat production,” it had
 7

 8
     reported Defendant RICK T. GRAY’s insurance claim to USDA RMA’s Western

 9
     Regional Compliance Office.

10
           70.      On or about March 6, 2017, USDA RMA notified Defendant RICK T.

11
     GRAY that he and his company, Gray Land and Livestock LLC, were ineligible to

12
     obtain federally reinsured crop insurance based on failure to pay premiums.

13
           71.      On or about February 28, 2019, one of Defendant RICK T. GRAY’s

14 companies, Gray Land and Livestock LLC., declared bankruptcy in the Eastern

15 District of Washington. Columbia State Bank is a creditor of Gray Land and

16 Livestock LLC with multiple unpaid claims in the bankruptcy proceeding totaling

17 over $3.5 million for credit extended to Gray Land and Livestock LLC’s farming

18 operations starting as early as June of 2013.

19         VI.      FALSE CLAIMS SUBMITTED AND CAUSED TO BE

20                  SUBMITTED BY DEFENDANTS

21         72.      As described, and discussed above in paragraphs 1 through 71, the

22 following false and fraudulent claim for payment was knowingly submitted and

23 caused to be submitted by Defendant RICK T. GRAY and Defendant GRAY FARMS

24 & CATTLE CO. LLC to the USDA in violation of 31 U.S.C. § 3729(a)(1)(A):

25         - RCIS claim for reinsurance in the amount of $94,353.00, for crop year 2015

26               on MPCI Policy #46-951-989150, submitted to the USDA on October 2,

27               2015, and paid by the USDA, through the FCIC, on October 2, 2015, in the

28               amount of $94,353.00.
     UNITED STATES’ COMPLAINT - 23
      Case 1:21-cv-03126-TOR       ECF No. 1      filed 09/28/21   PageID.24 Page 24 of 41




           73.      As described, and discussed above in paragraphs 1 through 71, the
 1
     following false and fraudulent claim for payment was knowingly submitted and
 2
     caused to be submitted by Defendant RICK T. GRAY to the USDA in violation of 31
 3
     U.S.C. § 3729(a)(1)(A):
 4
           - RCIS claim for reinsurance in the amount of $384,453.00, for crop year
 5
                 2015 on MPCI Policy #46-951-136889, submitted to the USDA on October
 6
                 8, 2015, and paid by the USDA, through the FCIC, on October 8, 2015, in
 7

 8
                 the amount of $384,453.00.

 9
           VII. FALSE RECORDS OR STATEMENTS KNOWINGLY MADE,

10
                    USED, AND CAUSED TO MADE AND USED BY DEFENDANTS

11
                    IN VIOLATION OF THE FALSE CLAIMS ACT

12
           74.      As described, and discussed above in paragraphs 1 through 71, the

13
     following record or statement was knowingly made, used, and caused to made and

14 used by Defendant RICK T. GRAY and Defendant GRAY FARMS & CATTLE CO.

15 LLC, and was material to the corresponding false or fraudulent claim for payment to

16 the USDA, in violation of 31 U.S.C. § 3729(a)(1)(B):

17         Record/Statement                                  Corresponding False Claim

18          Production Worksheet for crop year           RCIS claim for reinsurance in the

19          2015, MPCI Policy #46-951-989150,            amount of $94,353.00, for crop year

20          dated September 30, 2015, certified          2015 on MPCI Policy #46-951-

21          by Defendant RICK T. GRAY falsely 989150, submitted to the USDA on

22          and fraudulently representing, inter         October 2, 2015, and paid by the

23          alia, that all wheat production for          USDA, through the FCIC, on

24          Gray Farms & Cattle Co, LLC was              October 2, 2015, in the amount of
25          delivered and sold to Horse Heaven           $94,353.00.
26          Grain LLC.
27

28         75.      As described, and discussed above in paragraphs 1 through 71, the
     UNITED STATES’ COMPLAINT - 24
      Case 1:21-cv-03126-TOR      ECF No. 1       filed 09/28/21   PageID.25 Page 25 of 41




     following record or statement was knowingly made, used, and caused to made and
 1
     used by Defendant RICK T. GRAY and was material to the corresponding false or
 2
     fraudulent claim for payment to the USDA, in violation of 31 U.S.C. § 3729(a)(1)(B):
 3
           Record/Statement                                  Corresponding False Claim
 4

 5
            Production Worksheet for crop year           RCIS claim for reinsurance in the

 6
            2015, MPCI Policy #46-951-136889,            amount of $384,453.00, for crop year

 7
            dated September 30, 2015, certified          2015 on MPCI Policy #46-951-

 8
            by Defendant RICK T. GRAY falsely 136889, submitted to the USDA on

 9
            and fraudulently representing, inter         October 8, 2015, and paid by the

10
            alia, that all wheat production for          USDA, through the FCIC, on

11
            Gray Land and Livestock, LLC was             October 8, 2015, in the amount of

12          delivered and sold to Horse Heaven           $384,453.00

13          Grain LLC.

14

15         VIII. FALSE RECORDS OR STATEMENTS KNOWINGLY MADE IN

16               VIOLATION OF THE FINANCIAL INSTITUTIONS REFORM

17               AND RECOVERY ENFORCEMENT ACT (FIRREA)

18         76.   Beginning at a date unknown, but by at least April 30, 2015, and

19 continuing at least through February 28, 2019, Defendants RICK T. GRAY and

20 GRAY FARMS & CATTLE CO. LLC., within the Eastern District of Washington

21 and elsewhere, as described more fully in paraphs 1 through 71, engaged in a scheme

22 to defraud in violation of 18 U.S.C. § 1014; 18 U.S.C. § 1341; 18 U.S.C. § 1343;

23 and/or 18 U.S.C. § 1344(2), all in violation of 12 U.S.C. § 1833a.

24               A. Defendants’ Violations of 18 U.S.C. § 1014, Making False
25                  Statements and Reports Influencing the FCIC
26         77.   Beginning at a date unknown, but by at least April 30, 2015, and
27 continuing at least through February 28, 2019, Defendants RICK T. GRAY and

28 GRAY FARMS & CATTLE CO. LLC., within the Eastern District of Washington
   UNITED STATES’ COMPLAINT - 25
      Case 1:21-cv-03126-TOR     ECF No. 1    filed 09/28/21   PageID.26 Page 26 of 41




     and elsewhere, as described more fully in paraphs 1 through 71, knowingly made false
 1
     statements and reports for the purpose of influencing, in any way, the Federal Crop
 2
     Insurance Corporation or a company it reinsures, here RCIS, including upon the
 3
     following application in violation of 12 U.S.C. § 1833a(c)(1) and 18 U.S.C. § 1014:
 4
                 a. Production Worksheet for crop year 2015, MPCI Policy #46-951-
 5
                     989150, dated September 30, 2015, certified by Defendant RICK T.
 6
                     GRAY falsely and fraudulently representing, inter alia, that all wheat
 7

 8
                     production for Defendant GRAY FARMS was delivered and sold to

 9
                     Horse Heaven Grain LLC.

10
           78.   Beginning at a date unknown, but by at least April 30, 2015, and

11
     continuing at least through February 28, 2019, Defendant RICK T. GRAY, within the

12
     Eastern District of Washington and elsewhere, as described more fully in paraphs 1

13
     through 71, knowingly made false statements and reports for the purpose of

14
     influencing, in any way, the Federal Crop Insurance Corporation or a company it

15 reinsures, here RCIS, including upon the following applications in violation of 12

16 U.S.C. § 1833a(c)(1) and 18 U.S.C. § 1014:

17               a. Production Worksheet for crop year 2015, MPCI Policy #46-951-

18                   136889, dated September 30, 2015, certified by Defendant RICK T.

19                   GRAY falsely and fraudulently representing, inter alia, that all wheat

20                   production for Gray Land and Livestock, LLC was delivered and sold

21                   to Horse Heaven Grain LLC; and

22               b. Production Worksheet for crop year 2016, MPCI Policy #46-951-

23                   136889, dated October 13, 2016, certified by Defendant RICK T.

24                   GRAY falsely and fraudulently representing, inter alia, that all wheat

25                   production for Gray Land and Livestock, LLC was delivered and sold

26                   to Horse Heaven Grain LLC and Mid Columbia Producers and that

27                   Defendant RICK T. GRAY had no “home stored” wheat production.

28
     UNITED STATES’ COMPLAINT - 26
      Case 1:21-cv-03126-TOR      ECF No. 1   filed 09/28/21   PageID.27 Page 27 of 41




                  B. Defendants’ Violations of 18 U.S.C. §§ 1341 & 1343, Mail and
 1
                     Wire Fraud
 2
           79.    Beginning at a date unknown, but by at least April 30, 2015, and
 3
     continuing at least through February 28, 2019, Defendants RICK T. GRAY and
 4
     GRAY FARMS & CATTLE CO. LLC., within the Eastern District of Washington
 5
     and elsewhere, as described more fully in paraphs 1 through 71, knowingly and with
 6
     the intent to defraud, devised, participated in, and executed a scheme to defraud the
 7

 8
     United States Department of Agriculture, the Federal Crop Insurance Corporation, and

 9
     approved insurance provider Rural Community Insurance Company, also known as

10
     Rural Community Insurance Services, (herein “RCIS”), of federally reinsured crop

11
     insurance loss indemnity payments, by means of material false and fraudulent

12
     pretenses, representations, and promises and the concealment of material facts.

13
           80.    For purposes of executing this scheme to defraud, the Defendants, RICK

14
     T. GRAY and GRAY FARMS & CATTLE CO. LLC, deposited and caused to be

15 deposited correspondence for delivery by the United States Postal Service or a private

16 or commercial interstate carrier, and transmitted and caused to be transmitted writings

17 by means of wire communications in interstate and foreign commerce. In particular,

18 under MPCI Policy #46-951-989150 and MPCI Policy #46-951-136889, the

19 Defendants, respectively, as insureds and/or acting on behalf of insureds, were

20 required to provide information to establish or modify coverage to their agent. This

21 information was captured on specific documents that were required to be provided in

22 accordance with the applicable basic provisions, crop provisions, special provisions

23 and procedures. Specifically, the insured and agent are required to sign the

24 application, production history, acreage report, and any power of attorney or

25 assignment of indemnity. The agent then enters all of this information into RCIS’s

26 CIMax System. In the case of MPCI Policy #46-951-989150 and MPCI Policy #46-

27 951-136889 for crop years 2015 and 2016, this process resulted in the transmission of

28 the information on all applications, production histories, acreage reports, and
   UNITED STATES’ COMPLAINT - 27
       Case 1:21-cv-03126-TOR     ECF No. 1    filed 09/28/21   PageID.28 Page 28 of 41




     assignments of indemnity, from Washington State to RCIS, headquartered in Anoka,
 1
     MN, by use of the interstate wires.
 2
           81.    Regarding loss claims by the insured, the agent enters that information
 3
     into the RCIS Notice of Loss System, which, in the case of MPCI Policy #46-951-
 4
     989150 and MPCI Policy #46-951-136889 for crop years 2015 and 2016, resulted in
 5
     the transfer of that information from Washington State to RCIS, headquartered in
 6
     Anoka, MN, by use of the interstate wires. RCIS transmits, through the interstate
 7

 8
     wires, the data in CIMax and its Notice of Loss System to RMA according to the

 9
     Standard Reinsurance Agreement (SRA) Appendix III PASS requirements applicable

10
     for the given reinsurance year. In the event of a loss claim, upon receipt of a notice of

11
     loss in the RCIS Notice of Loss System, the claim documents, including production

12
     worksheets, are signed and the claim data is captured in RCIS’s claim systems and

13
     also transmitted to RMA according to the SRA Appendix III PASS requirements,

14
     using the interstate wires. RCIS submits its claims for reinsurance to the USDA

15 through the interstate wires. Regarding the payments of reinsurance by the USDA to

16 RCIS, the disbursement of funds via electronic funds transfer (EFT) is made using the

17 interstate wires from New York to RCIS in Minnesota.

18         82.    Regarding indemnity payments, the indemnity check and summary of

19 loss is provided to the insured by RCIS. The loss indemnity checks provided by RCIS

20 for crop year 2015 on MPCI Policy #46-951-989150 and MPCI Policy #46-951-

21 136889 were sent from RCIS’s headquarters in Anoka, MN, to Washington State

22 using the United States Postal Service or a private or commercial interstate carrier.

23         83.    In fraudulently obtaining hundreds of thousands of dollars in federally

24 reinsured crop insurance indemnities, Defendants RICK T. GRAY and GRAY

25 FARMS & CATTLE CO. LLC deceived at least one financial institution that had

26 extended credit to Defendant GRAY FARMS and/or to Defendant RICK T. GRAY

27 and/or other entities he owned and/or controlled, including Gray Land and Livestock

28 LLC., into believing that these debtors were and continued to be credit worthy and
   UNITED STATES’ COMPLAINT - 28
      Case 1:21-cv-03126-TOR      ECF No. 1    filed 09/28/21   PageID.29 Page 29 of 41




     were not basing hundreds of thousands of dollars in revenue on an ongoing scheme to
 1
     defraud the USDA and its approved insurance provider RCIS. This deception was
 2
     material to the financial institution. Specifically, Columbia State Bank had extended
 3
     over $3.5 million of credit to Defendant RICK T. GRAY’s company, Gray Land and
 4
     Livestock LLC, prior to the detection in 2016 of the fraud scheme detailed herein.
 5
     Subsequently, on March 6, 2017, USDA RMA notified Defendant RICK T. GRAY
 6
     that both he and his company, Gray Land and Livestock LLC, were ineligible to
 7

 8
     obtain federally reinsured crop insurance and subsequent to that, on February 28,

 9
     2019, Defendant RICK T. GRAY caused Gray Land and Livestock LLC to file for

10
     bankruptcy in U.S. Bankruptcy Court for the Eastern District of Washington. The

11
     bankruptcy filing left Columbia State Bank, one of Gray Land and Livestock LLC’s

12
     creditors, with a claim in bankruptcy, rather than full and timely payments, for over

13
     $3.5 million.

14
           84.    Accordingly, for the purpose of executing the scheme to defraud, the

15 Defendants RICK T. GRAY and GRAY FARMS & CATTLE CO. LLC, deposited

16 and caused to be deposited materials for delivery by the United States Postal Service

17 or a private or commercial interstate carrier, and transmitted and caused to be

18 transmitted writings by means of wire communications in interstate and foreign

19 commerce, affecting at least one federally insured financial institution, Columbia State

20 Bank, in violation of 18 U.S.C. 1341, Mail Fraud, and/or 18 U.S.C. § 1343, Wire

21 Fraud, all in violation of 12 U.S.C. § 1833a(c)(2). Examples include, but are not

22 limited, to the following:

23    On or      Defendant(s)    Description                        Mailing or Use of
                                                                    Interstate Wires
24    about
25    4/30/15    RICK T.         Acreage Report data for MPCI RCIS CIMax System
26               GRAY            Policy #46-951-136889              via the interstate wires.
27                               obtaining coverage for Gray
28
     UNITED STATES’ COMPLAINT - 29
      Case 1:21-cv-03126-TOR   ECF No. 1     filed 09/28/21   PageID.30 Page 30 of 41




                               Lands’ wheat production for
 1
                               crop year 2015.
 2

 3
     7/15/15   RICK T.         Acreage Report data for MPCI RCIS CIMax System

 4
               GRAY and        Policy #46-951-989150                via the interstate wires.

 5
               GRAY            obtaining coverage for

 6
               FARMS           Defendant GRAY FARMS’

 7
                               wheat production for crop year

 8                             2015.

 9   7/21/15   RICK T.         Notice of Loss for crop year         RCIS Notice of Loss

10             GRAY and        2015 under MPCI Policy #46-          System via the

11             GRAY            951-989150.                          interstate wires.

12             FARMS

13   7/21/15   RICK T.         Notice of Loss for crop year         RCIS Notice of Loss

14             GRAY            2015 under MPCI Policy #46-          System via the
15                             951-136889.                          interstate wires.
16   9/21/15   RICK T.         RCIS Transfer of Coverage            RCIS CIMax System
17             GRAY and        and Right to an Indemnity            via the interstate wires.
18             GRAY            form data.
19             FARMS
20   9/30/15   RICK T.         Production Worksheet for crop RCIS Notice of Loss
21             GRAY and        year 2015, MPCI Policy #46-          System and/or RCIS
22             GRAY            951-989150, dated September          CIMax System via the
23             FARMS           30, 2015, certified by               interstate wires.
24                             Defendant RICK T. GRAY
25                             falsely and fraudulently
26                             representing, inter alia, that all
27                             wheat production for
28
     UNITED STATES’ COMPLAINT - 30
      Case 1:21-cv-03126-TOR   ECF No. 1     filed 09/28/21   PageID.31 Page 31 of 41




                               Defendant GRAY FARMS
 1
                               was delivered and sold to
 2
                               Horse Heaven Grain LLC
 3

 4
     9/30/15   RICK T.         Production Worksheet for crop RCIS Notice of Loss

 5
               GRAY            year 2015, MPCI Policy #46-          System and/or RCIS

 6
                               951-136889, dated September          CIMax System via the

 7
                               30, 2015, certified by               interstate wires.

 8                             Defendant RICK T. GRAY

 9                             falsely and fraudulently

10                             representing, inter alia, that all

11                             wheat production for Gray

12                             Land and Livestock, LLC was

13                             delivered and sold to Horse

14                             Heaven Grain LLC

15   10/1/15   RICK T.         RCIS Check No. 02053442 in           Sent from RCIS’s

16             GRAY and        the amount of $94,353.00 for         headquarters in Anoka,

17             GRAY            Claim No. 2254807 on MPCI            MN, to Washington
18             FARMS           Policy #48-951-989150, Crop          State using the United
19                             Year 2015.                           States Postal Service or
20                                                                  a private or
21                                                                  commercial interstate
22                                                                  carrier.
23   10/2/15   RICK T.         RCIS claim for reinsurance in        RCIS submission to
24             GRAY and        the amount of $94,353.00, for        USDA via the
25             GRAY            crop year 2015 on MPCI               interstate wires.
26             FARMS           Policy #46-951-989150,
27                             submitted to the USDA
28
     UNITED STATES’ COMPLAINT - 31
      Case 1:21-cv-03126-TOR   ECF No. 1     filed 09/28/21   PageID.32 Page 32 of 41




     10/2/15   RICK T.         USDA reinsurance payment to EFT from USDA to
 1
               GRAY and        RCIS, in the amount of             RCIS via the interstate
 2
               GRAY            $94,353.00, for crop year 2015 wires.
 3

 4
               FARMS           on MPCI Policy #46-951-

 5
                               989150.

 6
     10/7/15   RICK T.         RCIS Check No. 02054739 in         Sent from RCIS’s

 7             GRAY            the amount of $384,453.00 for headquarters in Anoka,

 8                             Claim No. 2258517 on MPCI          MN, to Washington

 9                             Policy #46-951-136889, Crop        State using the United

10                             Year 2015.                         States Postal Service or

11                                                                a private or

12                                                                commercial interstate

13                                                                carrier.

14   10/8/15   RICK T.         RCIS claim for reinsurance in      RCIS submission to

15             GRAY            the amount of $384,453.00,         USDA via the

16                             for crop year 2015 on MPCI         interstate wires.

17                             Policy #46-951-136889,
18                             submitted to the USDA.
19   10/8/15   RICK T.         USDA reinsurance payment to EFT from USDA to
20             GRAY            RCIS, in the amount of             RCIS via the interstate
21                             $384,453.00, for crop year         wires.
22                             2015 on MPCI Policy #46-
23                             951-136889.
24   7/15/16   RICK T.         Acreage Report data for MPCI RCIS CIMax System
25             GRAY            Policy #46-951-136889              via the interstate wires.
26                             obtaining coverage for Gray
27

28
     UNITED STATES’ COMPLAINT - 32
      Case 1:21-cv-03126-TOR    ECF No. 1    filed 09/28/21   PageID.33 Page 33 of 41




                               Lands’ wheat production for
 1
                               crop year 2016
 2

 3
     Between RICK T.           Notices of Loss for crop year        RCIS Notice of Loss

 4
     6/28/16     GRAY          2016 on MPCI Policy #46-             System via the

 5
     and                       951-136889.                          interstate wires.

 6
     8/8/16

 7   10/13/16 RICK T.          Production Worksheet for crop RCIS Notice of Loss

 8               GRAY          year 2016, MPCI Policy #46-          System and/or RCIS

 9                             951-136889, dated October            CIMax System

10                             13, 2016, certified by

11                             Defendant RICK T. GRAY

12                             falsely and fraudulently

13                             representing, inter alia, that all

14                             wheat production for Gray

15                             Land and Livestock, LLC was

16                             delivered and sold to Horse

17                             Heaven Grain LLC and Mid

18                             Columbia Producers and that
19                             Defendant RICK T. GRAY
20                             had no “home stored” wheat
21                             production
22

23               C. Defendants’ Violation of 18 U.S.C. § 1344(2), Bank Fraud
24         85.   Beginning on a date unknown but by at least April 30, 2015, and
25 continuing through February 28, 2019, the Defendants RICK T. GRAY and GRAY

26 FARMS & CATTLE CO. LLC, within the Eastern District of Washington and

27 elsewhere, as described more fully in paragraphs 1 through 71, knowingly and with

28 intent to defraud, carried out a scheme or plan to obtain money or property from
   UNITED STATES’ COMPLAINT - 33
      Case 1:21-cv-03126-TOR      ECF No. 1    filed 09/28/21   PageID.34 Page 34 of 41




     Columbia State Bank, a federally insured financial institution, by making false
 1
     statements or promises, which the defendants knew were false and which were
 2
     material.
 3
           86.    For purposes of executing this scheme to defraud, the Defendants, RICK
 4
     T. GRAY and GRAY FARMS & CATTLE CO. LLC, on or about September 21,
 5
     2015, fraudulently attempted to transfer all rights to any indemnity under MPCI
 6
     Policy #46-951-989150 for crop year 2015 from Defendant GRAY FARMS, to
 7

 8
     Defendant RICK T. GRAY’s company, Gray Land & Livestock LLC, through an

 9
     RCIS Transfer of Coverage and Right to an Indemnity form which Defendant RICK

10
     T. GRAY and Defendant GRAY FARMS caused to be falsely and fraudulently

11
     backdated to January 1, 2015, a date prior to the previous and valid transfer of

12
     indemnity rights under MPCI Policy #46-951-989150 to Columbia State Bank, and

13
     which information was submitted to RCIS and had the natural tendency to influence

14
     and was capable of influencing RCIS, and therefore Columbia State Bank, to part with

15 any loss indemnity amount or portion thereof paid under MPCI Policy #46-951-

16 989150.

17                                         COUNT I
                               Violation of the False Claims Act
18                                 31 U.S.C. § 3729(a)(1)(A)
19
           87.    The United States repeats and realleges the allegations contained in
20
     Paragraphs 1 through 86 above, as if fully set forth herein.
21
           88.    Defendant RICK T. GRAY violated the False Claims Act, 31 U.S.C. §
22
     3729(a)(1)(A) by knowingly presenting and causing to be presented to the USDA
23
     false and/or fraudulent claims for payment of reinsurance by the USDA to RCIS for
24
     the crop year 2015 indemnity payments made on MPCI Policy #46-951-136889 and
25
     MPCI Policy #46-951-989150.
26
           89.    Defendant GRAY FARMS & CATTLE CO. LLC violated the False
27
     Claims Act, 31 U.S.C. § 3729(a)(1)(A) by knowingly presenting and causing to be
28
     UNITED STATES’ COMPLAINT - 34
      Case 1:21-cv-03126-TOR         ECF No. 1   filed 09/28/21   PageID.35 Page 35 of 41




     presented to the USDA false and/or fraudulent claims for payment of reinsurance by
 1
     the USDA to RCIS for the crop year 2015 indemnity payments made on MPCI Policy
 2
     #46-951-989150.
 3
           90.       The United States paid the false and/or fraudulent claims because of
 4
     Defendants’ acts, and incurred damages as a result.
 5
           91.       Pursuant to 31 U.S.C. § 3729(a), Defendant RICK T. GRAY and
 6
     Defendant GRAY FARMS & CATTLE CO. LLC are liable to the United States
 7

 8
     Government for a civil penalty for each violation of the False Claims Act committed

 9
     by Defendants RICK T. GRAY and/or GRAY FARMS & CATTLE CO. LLC,

10
     respectively.

11
           92.       Pursuant to 31 U.S.C. § 3929(a), Defendants RICK T. GRAY and GRAY

12
     FARMS & CATTLE CO. LLC are jointly and severally liable to the United States for

13
     three times the amounts of all damages sustained by the United States because of the

14
     Defendants’ conduct.

15                                           COUNT II
                                  Violation of the False Claims Act
16                                    31 U.S.C. § 3729(a)(1)(B)
17
           93.       The United States repeats and realleges the allegations contained in
18
     Paragraphs 1 through 86 above, as if fully set forth herein.
19
           94.       Defendants RICK T. GRAY and GRAY FARMS & CATTLE CO. LLC
20
     violated the False Claims Act, 31 U.S.C. § 3729(a)(1)(B) by knowingly making,
21
     using, or causing to be made or used, false records or statements that were material to
22
     false or fraudulent claims for payment to the USDA, and which claims the United
23
     States did pay.
24
           95.       The United States paid the false and/or fraudulent claims because of the
25
     Defendants’ acts, and incurred damages as a result.
26
           96.       Pursuant to 31 U.S.C. § 3729(a), the Defendants are liable to the United
27
     States Government for a civil penalty for each violation of the False Claims Act
28
     UNITED STATES’ COMPLAINT - 35
       Case 1:21-cv-03126-TOR      ECF No. 1    filed 09/28/21   PageID.36 Page 36 of 41




     committed by Defendant RICK T. GRAY and/or Defendant GRAY FARMS &
 1
     CATTLE CO. LLC, respectively.
 2
           97.    Pursuant to 31 U.S.C. § 3929(a), the Defendants are jointly and severally
 3
     liable to the United States for three times the amounts of all damages sustained by the
 4
     United States because of the Defendants’ conduct.
 5
                                           COUNT III
 6
                                      Violation of FIRREA
 7                               False Applications to the FCIC
 8
                                        12 U.S.C. § 1833a
                                        18 U.S.C. § 1014
 9

10
           98.    The United States repeats and realleges the allegations contained in

11
     Paragraphs 1 through 86 above, as if fully set forth herein.

12
           99.    Each execution and/or attempted execution by or caused by Defendant

13
     RICK T. GRAY and/or Defendant GRAY FARMS & CATTLE CO. LLC, by means

14
     of knowingly making false statements and/or reports for the purpose of influencing, in

15 any way, the Federal Crop Insurance Corporation or a company it reinsures, here

16 RCIS, as set forth in paragraphs 77 and 78, constitutes a separate violation of 18

17 U.S.C. § 1014 and, therefore, 12 U.S.C. § 1833a(c)(1). For each such violation,

18 pursuant to 12 U.S.C. § 1833a(b)(1), (2), (3); 28 C.F.R. § 83.5 and/or 28 C.F.R.

19 § 85.5, the United States is entitled, and seeks, to recover a civil money penalty

20 against the defendants in an amount to be assessed by the Court.

21                                      COUNT IV
                                   Violation of FIRREA
22
                                        Mail Fraud
23                                   12 U.S.C. § 1833a
                                     18 U.S.C. § 1341
24
           100. The United States repeats and realleges the allegations contained in
25
     paragraphs 1 through 86, as if fully set forth herein.
26
           101. Each deposit of an item for delivery by the United States Postal Service
27

28
     UNITED STATES’ COMPLAINT - 36
          Case 1:21-cv-03126-TOR    ECF No. 1   filed 09/28/21   PageID.37 Page 37 of 41




     or a private or commercial interstate carrier by or caused by Defendant RICK T.
 1
     GRAY and/or Defendant GRAY FARMS & CATTLE CO. LLC, for the purpose of
 2
     executing the scheme to defraud and to obtain money by means of false and fraudulent
 3
     representations described in paragraphs 79 through 84 above, constitutes a separate
 4
     violation of 18 U.S.C. § 1341. Each such violation that affected a federally insured
 5
     financial institution constitutes a separate violation of 12 U.S.C. § 1833a(c)(2). For
 6
     each such violation, pursuant to 12 U.S.C. § 1833a(b)(1), (2), (3); 28 C.F.R. § 83.5
 7

 8
     and/or 28 C.F.R. § 85.5, the United States is entitled, and seeks, to recover a civil

 9
     money penalty against the defendants in an amount to be assessed by the Court.

10
                                            COUNT V
                                       Violation of FIRREA
11                                         Wire Fraud
12
                                        12 U.S.C. § 1833a
                                         18 U.S.C. § 1343
13
              102. The United States repeats and realleges the allegations contained in
14
     paragraphs 1 through 86, as if fully set forth herein.
15
              103. Each transmission by or caused by Defendant RICK T. GRAY and/or
16
     Defendant GRAY FARMS & CATTLE CO. LLC, by means of wire communication
17
     in interstate and foreign commerce for the purpose of executing the scheme to defraud
18
     and to obtain money by means of false and fraudulent representations described in
19
     paragraphs 79 through 84 above, constitutes a separate violation of 18 U.S.C. § 1343.
20
     Each such violation that affected a federally insured financial institution constitutes a
21
     separate violation of 12 U.S.C. § 1833a(c)(2). For each such violation, pursuant to 12
22
     U.S.C. § 1833a(b)(1), (2), (3); 28 C.F.R. § 83.5 and/or 28 C.F.R. § 85.5, the United
23
     States is entitled, and seeks, to recover a civil money penalty against the defendants in
24
     an amount to be assessed by the Court.
25
     //
26
     //
27
     //
28
     UNITED STATES’ COMPLAINT - 37
       Case 1:21-cv-03126-TOR      ECF No. 1    filed 09/28/21   PageID.38 Page 38 of 41




                                           COUNT VI
 1
                                      Violation of FIRREA
 2                                         Bank Fraud
                                        12 U.S.C. § 1833a
 3
                                       18 U.S.C. § 1344(2)
 4
           104. The United States repeats and realleges the allegations contained in
 5
     paragraphs 1 through 86, as if fully set forth herein.
 6
           105. Each execution and/or attempted execution by or caused by Defendant
 7
     RICK T. GRAY and/or Defendant GRAY FARMS & CATTLE CO. LLC for
 8
     purposes of executing the scheme to obtain money owed by and under the custody and
 9
     control of financial institutions by means of false and fraudulent representations set
10
     forth in paragraphs 85 and 86 above, constitutes a separate violation of 18 U.S.C.
11
     § 1344(2) and, therefore of 12 U.S.C. § 1833a(c)(1). For each such violation,
12
     pursuant to 12 U.S.C. § 1833a(b)(1), (2), (3); 28 C.F.R. § 83.5 and/or 28 C.F.R.
13
     § 85.5, the United States is entitled, and seeks, to recover a civil money penalty
14
     against the defendants in an amount to be assessed by the Court.
15
                                          COUNT VII
16                                   For Unjust Enrichment
17
           106. The United States repeats and realleges the allegations contained in
18
     paragraphs 1 through 86, as if fully set forth herein.
19
           107. By receiving crop insurance indemnity payments, directly or indirectly
20
     through his company Gray Land and Livestock LLC., from RCIS for crop year 2015
21
     on MPCI Policy #46-951-136889 and MPCI Policy #46-951-989150, in the total
22
     amount of at least $540,028, to which he was not entitled due to his wrongful,
23
     improper, and corrupt conduct, and as such amount was reinsured by the USDA in the
24
     amount of at least $540,028, Defendant RICK T GRAY has been unjustly enriched
25
     and is liable to repay such amounts to the United States.
26
           108. By receiving crop insurance indemnity payments, directly or indirectly
27
     from RCIS for crop year 2015 on MPCI Policy #46-951-989150, in the total amount
28
     UNITED STATES’ COMPLAINT - 38
      Case 1:21-cv-03126-TOR      ECF No. 1    filed 09/28/21   PageID.39 Page 39 of 41




     of at least $122,272, to which it was not entitled due to its wrongful, improper, and
 1
     corrupt conduct, and as such amount was reinsured by the USDA in the amount of at
 2
     least $122,272, Defendant GRAY FARMS & CATTLE CO. LLC has been unjustly
 3
     enriched and is liable to repay such amounts to the United States.
 4
                                       COUNT VIII
 5
                                For Payment by Mistake
 6         109. The United States repeats and realleges the allegations contained in
 7 paragraphs 1 through 86, as if fully set forth herein.

 8         110. As a result of his conduct, Defendant RICK T. GRAY received
 9 payments, directly or indirectly through his company Gray Land and Livestock, LLC,

10 from RCIS for crop year 2015 on MPCI Policy #46-951-136889 and MPCI Policy

11 #46-951-989150, which were reinsured in whole by the USDA and to which

12 Defendant RICK T. GRAY was not entitled and occurred as a result of mistake of

13 fact of the USDA.

14         111. The USDA relied upon its mistake in authorizing and approving payment
15 to RCIS.

16         112. Defendant RICK T. GRAY is liable to the United States for the
17 reinsurance amounts paid to RCIS by the United States as a result of this mistake.

18         113. As a result of its conduct, Defendant GRAY FARMS & CATTLE CO.
19 LLC received payments from RCIS for crop year 2015 on MPCI Policy #46-951-

20 989150, which were reinsured in whole by the USDA and to which Defendant GRAY

21 FARMS & CATTLE CO. LLC was not entitled and occurred as a result of mistake of

22 fact of the USDA.

23         114. The USDA relied upon its mistake in authorizing and approving payment
24 to RCIS.

25         115. Defendant GRAY FARMS & CATTLE CO. LLC is liable to the United
26 States for the reinsurance amounts paid to RCIS by the United States as a result of this

27 mistake.

28
     UNITED STATES’ COMPLAINT - 39
        Case 1:21-cv-03126-TOR     ECF No. 1    filed 09/28/21   PageID.40 Page 40 of 41




                                    PRAYER FOR RELIEF
 1
            116. Plaintiff the United States of America prays for judgment against the
 2
     Defendant, as follows:
 3
                   A.    As to Counts I and II under the False Claims Act, 31 U.S.C. §
 4
     3729(a), against Defendant RICK T. GRAY and Defendant GRAY FARMS &
 5
     CATTLE CO. LLC for treble the amount of the United States’ single damages to be
 6
     proven at trial, plus civil penalties as are required by law per violation of the False
 7

 8
     Claims Act, post-judgment interest, costs, and such other relief as may be necessary

 9
     and proper;

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                   B.    As to Count III, IV, V, and VI under FIRREA, 12 U.C.C. § 1833a,

11
     civil penalties against Defendant RICK T. GRAY and Defendant GRAY FARMS &

12
     CATTLE CO. LLC in the maximum amount authorized under 12 U.S.C. § 1833a, and

13
     28 C.F.R. §§ 83.5 and 85.5, to be proven at trial, post-judgment interest, costs, and

14
     such other relief as may be necessary and proper:

15                 C.    As to Count VII, unjust enrichment, against Defendant RICK T.

16 GRAY and Defendant GRAY FARMS & CATTLE CO. LLC for the sums by which

17 Defendant RICK T. GRAY and Defendant GRAY FARMS & CATTLE CO. LLC,

18 respectively, have been unjustly enriched, to be proven at trial, plus pre-judgment and

19 post-judgment interest, and costs;

20                 D.    As to Count VIII, payment by mistake, against Defendant RICK T.

21 GRAY and Defendant GRAY FARMS & CATTLE CO. LLC, respectively, for the

22 amounts paid to RCIS by mistake, to be proven at trial, plus pre-judgment and post-

23 judgment interest, and costs; and

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   UNITED STATES’ COMPLAINT - 40
       Case 1:21-cv-03126-TOR      ECF No. 1   filed 09/28/21   PageID.41 Page 41 of 41




                  E.     Such other relief as the Court deems just, necessary, and proper.
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 2
     The United States demands a trial by jury as to all issues so triable.
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                               Respectfully Submitted this 28th day of September, 2021,
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 6                                                 Joseph H. Harrington
                                                   Acting United States Attorney
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 9                                                 ____________________
10
                                                   Tyler H.L. Tornabene
                                                   Daniel Hugo Fruchter
11                                                 Assistant United States Attorneys
12
                                                   Eastern District of Washington
                                                   920 W. Riverside Ave., Suite 340
13                                                 Spokane, Washington 99201
14
                                                   (509) 353-2767
                                                   Tyler.H.L.Tornabene@usdoj.gov
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     UNITED STATES’ COMPLAINT - 41
